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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 21-CV-00796-MEH

UNITED STATES OF AMERICA,

             Plaintiff,
v.

1. 121 ASH ROAD, BASALT, COLORADO;
2. APPROXIMATELY $77,888,782.61 HELD AND FROZEN IN MIRABAUD BANK
ACCOUNT #509951,

           Defendants.
______________________________________________________________________

     UNITED STATES’ REPLY TO HENKE PROPERTY LLC’S RESPONSE TO
 GOVERNMENT’S MOTION TO STRIKE HENKE’S CLAIM AND ANSWER (Doc. 36)
______________________________________________________________________

      COMES NOW the United States of America (the “United States”), by and through

United States Attorney Cole Finegan and Assistant United States Attorney Tonya S.

Andrews, and herein files its Reply to Claimant Henke Property LLC’s Response to

Government’s Motion to Strike Henke’s Claim and Answer. (ECF Doc. 36). In

response, the United States sets forth the following:

I.    FACTUAL BACKGROUND

      1.     On January 19, 2022, the United States filed a Motion to Strike Henke

Property LLC’s Claim and Answer, as Mr. Carl Linnecke did not have authority to file a

Claim as the authorized representative. (ECF Doc. 33). Alternatively, the United States

requested that Henke Property cure with a properly authorized representative. The

United States’ motion was based on Henke Property LLC’s (“Henke Property”)

responses to special interrogatories regarding its filed Claim. (ECF Doc. 33-1).




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        2.    On February 23, 2022, Henke Property filed its Response to

Government’s Motion to Strike Henke’s Claim and Answer. (ECF Doc. 36). In its

Response, Henke Property asserts that: (1) the 2013 appointment (ECF Doc. 33-3)

permits Mr. Linnecke to act as the authorized representative because he is authorized

prevent the sale, transfer, or other disposition of the property; (2) because Mr. Linnecke

attests under penalty of perjury that he is authorized to represent Henke Property, such

a claim is sufficient to confer standing; and (3) Mr. Linnecke’s status as the registered

agent gives him the authority. Henke Property also requested that the Court take

judicial notice of Mr. Linnecke’s registration with the State of Colorado as agent for

Henke Property.

        3.     In addition to their response, Henke Property filed a Declaration of Evatt

Tamine, which states, “To the extent there is any question whether Mr. Linnecke is

authorized to represent Henke Property in this civil forfeiture action, I hereby (on behalf

of Henke Holdings, manager of Henke Property) confirm that Mr. Linnecke was and is

authorized to act as the authorized agent of, and take all necessary actions to

represent, Henke Property in this action.” (ECF Doc. 36-1, ¶ 8). Mr. Tamine signed the

Declaration on February 22, 2022.

II.     LEGAL ARGUMENT

        A.    The 2013 Appointment of Agent Does Not Provide Mr. Linnecke with
              Authority, however, the Declaration Appears to Provide Authority as
              of February 22, 2022

        First, the 2013 Appointment of Agent does not provide Mr. Linnecke authority to

act as a personal representative in this case. (ECF Doc. 33-3). The authority states in

full:



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       NOW, THEREFORE, BE IT RESOLVED that Henke Holdings, acting as the sole
       member of the Company, appoints Carl B. Linnecke (the “Agent”), as agent for
       the Company for the purpose of managing, operating and developing the
       Properties, with the authority to take such action with respect thereto as he shall
       determine to be in the best interest of the Company, including, without limitation,
       the authority to execute such contracts, agreements and other instruments and
       documents as he may deem necessary or appropriate in connection with the
       management, operation and/or development of the Properties; provided,
       however, the authority granted to Agent hereunder shall not include the authority
       to sell, transfer, mortgage, or take any other action affecting title to any of the
       Properties.

(ECF Doc. 33-3).

       The plain language states that Mr. Linnecke’s authority to act for Henke Property

is limited, in all respects, to certain categories—managing, operating, and developing

the Properties. All authorized actions in the appointment are modified by those

particular categories, including what would be deemed “to be in the best interest of the

Company.” Mr. Linnecke’s authority is then further limited because he may not “sell,

transfer, mortgage, or take any other action affecting title to any of the Properties.”

       Henke Property argues that Mr. Linnecke has authorization under the 2013

Appointment of Agent because he is not taking actions affecting title; rather, he is taking

actions to prevent the transfer of title. However, there are two major flaws with such an

argument. First, this civil forfeiture action has nothing to do with managing, operating,

and developing defendant 121 Ash Road, which is the authority granted to Mr.

Linnecke. 1 Second, assuming that this forfeiture action would fall under one of those

categories, such a position means Mr. Linnecke’s authority is wholly contingent on

Henke Property’s success. Such a reading of his authority would lead to inconsistent

and illogical results. More specifically, if Henke Property is successful in litigation, Mr.


1The United States has only filed a lis pendens, and has not seized or interfered with
management, operations, or development of the property.

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Linnecke’s authority is authorized because he prevented the transfer of title. However,

if Henke Property is unsuccessful in litigation, Mr. Linnecke’s authority would have been

unauthorized because transfer of title would actually occur. See 18 U.S.C. § 981(f);

United States v. Clymore, 245 F.3d 1195, 1200 (10th Cir. 2001) (the relation back

doctrine vests title to the United States at the time the illegal act was committed).

Despite the argument that Mr. Linnecke can prevent transfer of title, the plain reading of

the 2013 Appointment of Agent does not provide Mr. Linnecke authority to act as an

authorized representative of Henke Property in this civil forfeiture case.

       Nonetheless, Mr. Evatt Tamine’s Declaration appears to grant Mr. Linnecke the

authority to proceed in this case as of February 22, 2022. (ECF Doc. 36-1). Therefore,

the United States has no objection to Mr. Linnecke proceeding as the authorized

representative at this time. 2

       B.      Neither Filing a Verified Claim nor Acting as the Registered Agent
               Confers Standing to Represent a Company Without Actual
               Authorization




2In 2018, the prosecuting attorneys in United States v. Brockman, 4:21-cr-00009-1 (S.D. Tex.
2021) were provided a document in which Mr. Tamine resigned from all entities on September
28, 2018. The document states,
       I hereby resign from my position as director, secretary, trustee, manager and/or
       any other office of any and all companies, trusts, or other entities.
       I stand willing to take any further formal steps required to effect my resignations
       in accordance with (i) the constitutional documents of each entity (including, but
       not limited to, articles of incorporation and/or bylaws), and/or (ii) applicable laws.
There is a dispute regarding the extent of that resignation. Understanding that a dispute exists,
the government relies on Henke Property’s and its attorneys’ own due diligence, knowledge of
its own corporate structure, and proper authorities at this juncture. However, if Mr. Tamine
lacks the authority to act on behalf of Henke Holdings, LLC, Mr. Linnecke’s and Henke
Property’s standing may again be at issue in this case.

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       Notwithstanding the filed Declaration, in its response, Henke Property argues

that the attestation under the penalty of perjury by Mr. Linnecke in Henke’s claim and

his position as the registered agent provides him authority to act on behalf of the

company in this litigation. 3 Neither is legally sufficient without additional actual

authority.

       Henke Property states that, “Mr. Linnecke, who has served as Henke’s registered

agent since 2007, attested under penalty of perjury that he is Henke’s authorized

representative, and that alone demonstrates he is authorized to act on Henke’s behalf in

this action.” (ECF Doc. 36, p. 1-2). However, the attestation under penalty of perjury in

a verified claim does not alone confer statutory or Article III standing. Standing is a

threshold issue in every case. See Keyes v. School Dist. No. 1, 119 F.3d 1437, 1445

(10th Cir. 1997) (“Standing is a threshold, jurisdictional issue.”). Supplemental Rule G

and the numerous cases addressing standing based on claims signed under penalty of

perjury negate such an argument. See Supplemental Rule G(8)(c)(i)(A)-(B) (permitting

the government to move to strike a claim or answer for standing at any time before trial);

see, e.g., United States v. 8 Pieces of Assorted Jewelry, No. 19-cv-01439-SKC, 2020

WL 4350197, at *1-2 (D. Colo. July 29, 2020) (explaining statutory and Article III

standing); see also United States v. Four Thousand Two Hundred Seventy-Eight

Dollars, No. 12-10253, 2014 WL 3420774, at *5 (E.D. Mich. July 14, 2014) (noting the

attestation must be made by a person with both the authority to file the claim and

personal knowledge of the facts alleged in the claim); United States v. $8,440,190.00 in



3
 Henke Property did not indicate that Mr. Linnecke’s authority in this case was based on his
status as the registered agent until their response. Therefore, the United States did not address
that issue in its motion.
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U.S. Currency, 719 F.3d 49, 57 (1st Cir. 2013) (claimant bears the burden to establish

standing by a preponderance of the evidence); United States v. ADT Sec. Servs. Inc.,

522 F. App'x. 480, 489 (11th Cir. 2013) (authority to file a claim on behalf of a third party

is part of the standing analysis).

       Mr. Linnecke’s status as a registered agent also does not grant him the authority

to file a claim on behalf of a company without authorization. Scott v. Honeywell Int'l Inc.,

No. 14-CV-00157-PAB-MJW, 2016 WL 1077264, at *3 (D. Colo. Mar. 18, 2016) (“[A]n

agency relationship requires pleading of facts showing that agent had apparent or

actual authority to bind principal, and mere conclusory statements of agency status are

insufficient to state a claim.”). Henke Property states that a registered agent is

authorized to represent an entity in litigation based merely upon the fact that he or she

is the registered agent. That statement is at odds with the statutory framework

governing a registered agent’s authority in Colorado. Under Colo. Rev. Stat. § 7-90-

704(1), a “registered agent of an entity is an agent of the entity authorized to receive

service of process, notice, or demand required or permitted by law to be served on the

entity.” The registered agent is also an agent of the entity who the Colorado Secretary

of State may deliver forms, notice, or other documents. Id. The registered agent has

no other statutorily granted agency authority in Colorado. If a company wishes for the

registered agent to do more, it must give the agent the actual authority to do so. See,

e.g., Willey v. Mayer, 876 P.2d 1260, 1264 (Colo. 1994).

       Although Claimant Henke relies on United States v. Four Thousand Two

Hundred Seventy-Eight Dollars, No. 12-10253, 2014 WL 3420774 (E.D. Mich. July 14,

2014) and United States v. 2005 Pilatus Aircraft Bearing Tail No. N679PE, No. 2:12-CV-



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223, 2015 WL 12839118 (S.D. Tex. July 16, 2015) for the authority of a registered agent

to represent a company in a forfeiture case, neither court held nor determined that a

registered agent, without more, has the ability to file a claim on behalf of a company. In

addition, neither case addresses Colorado law or similar registered agent statutes.

       In United States v. Four Thousand Two Hundred Seventy-Eight Dollars, the court

did not hold that a registered agent would have authority to litigate on behalf of a

company. No. 12-10253, 2014 WL 3420774, at *5. Although the court mentions that

the claimant was the registered agent as well as the shareholder and president, a

review of the actual claim that was filed does not mention the claimant’s status as the

registered agent at all, but rather, states that the claimant was “one of the owners of

King Cole Foods, Inc. and its President.” Salam Manni and King Cole Food’s Verified

Statement of Interest, ECF Doc. 13 at 1, Four Thousand Two Hundred Seventy-Eight

Dollars, No. 12-10253, 2014 WL 3420774.

       Moreover, in United States v. 2005 Pilatus Aircraft Bearing Tail No. N679PE, the

Court did not address standing, nor was it challenged. No. 2:12-CV-223, 2015 WL

12839118, at *1. In that case, two claims were filed for the defendant aircraft. Id. The

claims were filed individually, and on behalf of two companies by the same individual,

Pablo Zarate Juarez. Id. A review of the filings shows that the defendant aircraft was

registered to Premier International Holdings, Ltd. See Notice of Filing of Verified Claim,

ECF Docs. 3, 4, 2005 Pilatus Aircraft Bearing Tail No. N679PE, No. 2:12-CV-223, 2015

WL 12839118. One claim was filed on behalf of Viza Construction L.L.C., and stated

that Mr. Juarez was the director and principal shareholder of Viza Construction, L.L.C.

See Notice of Filing of Verified Claim, ECF Doc 3-1, 2005 Pilatus Aircraft Bearing Tail



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No. N679PE, No. 2:12-CV-223, 2015 WL 12839118. The second claim was filed on

behalf of Premier International Holdings Ltd., by Mr. Juarez as the registered agent,

who reiterated that he was the director and principal shareholder of Viza Construction,

L.L.C., and that he purchased the aircraft when Viza Construction L.L.C. purchased all

the existing shares in Premier International Holdings Ltd., in 2011, which occurred prior

to the forfeiture action in July 2012. See Notice of Filing of Verified Claim, ECF Doc 4-

1, 2005 Pilatus Aircraft Bearing Tail No. N679PE, No. 2:12-CV-223, 2015 WL

12839118. The two claims, read in concert, indicate that Viza Construction L.L.C., for

which Mr. Juarez was the director, purchased the plane when it acquired all shares of

Premier International Holdings, Ltd. Mr. Juarez then became a fugitive from justice.

The United States never challenged Premier International Holdings, Ltd.’s claim on

standing grounds, but instead argued that the claimant could not challenge the forfeiture

for either company under the fugitive disentitlement doctrine. Id. at *3. The Court

granted the United States’ motion, and Mr. Juarez’s claims were dismissed. Id. at *6.

       Based on agency law and the Colorado registered agent statutes, it clear that a

Colorado registered agent is an agent for a company for service of process and demand

only. Any additional authority outside the statutorily recognized agent authority would

require additional authorization by Henke Property, through its manager, as a manager-

managed limited liability company.

       Henke Property further misconstrues standing in relation to Mr. Linnecke by

conflating standing and ownership. The United States never asserted that Henke

Property would not have Article III standing if a claim was filed by an agent with

authority. However, if Mr. Linnecke was not given authority to serve as an authorized



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representative in this case, he would be attempting to assert a third-party’s rights

without any individual stake in the litigation. See Warth v. Seldin, 422 U.S. 490, 499

(1975) (A party “generally must assert [its] own legal rights and interests, and cannot

rest [its] claim to relief on the legal rights or interest of third parties.”).

       Lastly, Henke Property indicates that it will seek leave to file an amended

answer, but appears to take the position that Mr. Tamine’s actions or knowledge with

regard to other companies may not be imputed to Henke Property. However, Mr.

Tamine’s own actions and knowledge cannot be completely siloed as Henke Property

appears to indicate. See, e.g., S.E.C. v. Manor Nursing Ctrs. Inc., 458 F.2d 1082, 1089

n. 3 (2d Cir. 1972) (imputing violation of securities laws to two companies because the

individual exercised blanket authority over the transactions) (citing S.E.C. v. North

American R. & D. Corp, 424 F.2d 63, 79 (2d Cir. 1970)).

                                         CONCLUSION

       The 2013 Appointment of Agent does not provide Mr. Linnecke the authority to

litigate on behalf of Henke Property in this case. Nonetheless, given Mr. Tamine’s

declaration that was filed by Henke Property, Mr. Linnecke appears to have authority at

this time. However, if the authority of Mr. Tamine as it relates to Henke Holdings LLC is

no longer valid, the standing of Henke Property may again be at issue.


               DATED this 9th day of March 2022.

                                                      Respectfully submitted,


                                                      COLE FINEGAN
                                                      United States Attorney




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                             CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of March 2022, I electronically filed the
 foregoing with the Clerk of Court using the ECF system which will send notice to all
 counsel of record and true copies were mailed via regular and certified mail to:


                                               s/Sheri Gidan
                                               FSA Records Examiner
                                               U.S. Attorney’s Office




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